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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 INTERTRUST TECHNOLOGIES                     §
 CORPORATION                                 §
                                             §   Case No. 2:19-cv-00266-JRG
 v.                                          §         (LEAD CASE)
                                             §
 CINEMARK HOLDINGS, INC.                     §
                                             §
                                             §
 AMC ENTERTAINMENT HOLDINGS,                 §   Case No. 2:19-cv-00265-JRG
 INC.                                        §         (MEMBER CASE)
                                             §
                                             §
 REGAL ENTERTAINMENT GROUP                   §   Case No. 2:19-cv-00267-JRG
                                             §         (MEMBER CASE)


                MINUTES FOR PRETRIAL CONFERENCE – DAY 2
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                February 4, 2022

OPEN: 10: 45 AM                                                  ADJOURN: 04:42 PM


ATTORNEYS FOR PLAINTIFF:                         See attached

ATTORNEYS FOR DEFENDANTS:                        See attached.

LAW CLERK:                                       Tom Derbish

COURT REPORTER:                                  Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                Andrea Brunson, CP

   TIME                                          MINUTES
 10:45 AM   Court opened.
 10:46 AM   Court called for announcements from counsel.
 10:47 AM   Court proceeded with Day 2 of pretrial covering disputes re: MILs and exhibits to be
            pre-admitted.
 10:48 AM   Update provided to the Court re: pending MILs. Court directed parties to file an agreed
            representation re: disposition of disputed MILS by noon, Monday, February 7.
 10:52 AM   Court proceeded to hear argument re: parties’ objections to MILs.
 10:53 AM   Plaintiff’s MIL 1: Argument presented.
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   TIME                                         MINUTES
 10:59 AM   Court ruling:
            Plaintiff’s MIL 1: GRANTED to include limitations and instructions set forth in the
            record.
 11:01 AM   Plaintiff’s MIL 3: Argument presented.
 11:34 AM   Court ruling:
            Plaintiff’s MIL 3: GRANTED with instructions set forth in the record; however, Court
            to further review.
 11:36 AM   Plaintiff’s MIL 4: Argument presented.
 11:50 AM   Court ruling:
            Plaintiff’s MIL 4: GRANTED-IN-PART and DENIED-IN-PART subject to exclusions
            and instructions set forth in the record.
 11:53 AM   Plaintiff’s MIL 5: Argument presented.
 11:58 AM   Court ruling:
            Plaintiff’s MIL 5: GRANTED-IN-PART and DENIED-IN-PART subject to exclusions
            and instructions set forth in the record.
 12:00 PM   Recess.
 12:59 PM   Court reconvened.
 12:59 PM   Plaintiff’s MIL 6: Argument presented.
 01:01 PM   Court ruling:
            Plaintiff’s MIL 6: GRANTED.
 01:01 PM   Defendants’ MIL 24: Argument presented.
 01:04 PM   Court ruling:
            Defendants’ MIL 24: DENIED.
 01:05 PM   Plaintiff’s MIL 8: Argument presented.
 01:11 PM   Court ruling:
            Plaintiff’s MIL 8: GRANTED-IN-PART and DENIED-IN-PART with exclusions and
            instructions set forth in the record.
 01:15 PM   Courtroom sealed.
 01:16 PM   Plaintiff’s MIL 9: Argument presented.
 01:35 PM   Court ruling:
            Plaintiff’s MIL 9: GRANTED with instructions set forth in the record.
 01:38 PM   Courtroom unsealed.
 01:38 PM   Defendants’ MIL 20: Argument presented.
 01:43 PM   Court ruling:
            Defendants’ MIL 20: GRANTED with instructions set forth in the record.
 01:46 PM   Conclusion of argument re: MILs.
 01:46 PM   Update re: meet and confer efforts re: disputed exhibits.
 01:47 PM   Court began hearing the following arguments re: objections to exhibits.
 01:47 PM   Objections to Plaintiff’s Exhibit List:
 01:47 PM   Group No. 1: Argument presented.
 01:55 PM   Court: Pre-admitted with redaction instructions.
 01:56 PM   Group No. 2: Argument presented.
 02:03 PM   Court: Pre-admitted to include Defendants’ identical group.
 02:06 PM   Group No. 3: Argument presented.


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   TIME                                           MINUTES
 02:13 PM   Court: Pre-admitted with instructions re: proper descriptive identifiers.
 02:14 PM   Group No. 4 and Group No. 5: Argument presented.
 02:18 PM   Court: Pre-admitted.
 02:19 PM   Group No. 6: Argument presented.
 02:20 PM   Per agreement of the parties, Court excluded for pre-admission.
 02:20 PM   Group No. 7: Argument presented.
 02:32 PM   Court: Pre-admitted PX 192 and excluded remainder.
 02:34 PM   Group No. 8: Argument presented.
 02:47 PM   Recess.
 03:01 PM   Court reconvened.
 03:02 PM   Group No. 8: Argument continued.
 03:09 PM   Court: Excluded from pre-admission but may be used as demonstratives.
 03:11 PM   Group No. 9: Argument presented.
 03:15 PM   Court: Pre-admitted.
 03:16 PM   Objections to Defendants’ Exhibit List:
 03:16 PM   Group No. 10: Argument presented.
 03:24 PM   Court: Pre-admitted.
 03:24 PM   Group No. 11: Argument presented.
 03:28 PM   Court: Excluded from pre-admission but may be used as demonstratives.
 03:29 PM   Group No. 12: Argument presented.
 03:35 PM   Court: Pre-admitted conditioned upon laying proper predicate for proving-up business
            records.
 03:37 PM   Group No. 13: Argument presented.
 03:37 PM   Court: Pre-admitted conditioned upon laying proper predicate for proving-up business
            records.
 03:38 PM   Group No. 14: Argument presented.
 03:42 PM   Court: Excluded from pre-admission with additional instructions as set forth in the
            record.
 03:42 PM   Group No. 15: Argument presented.
 03:48 PM   Court: Excluded from pre-admission.
 03:49 PM   Group No. 16 (Allen Co) and Group No. 18 (Deloitte): Argument presented.
 04:00 PM   Court: Excluded from pre-admission but may be used as demonstratives.
 04:05 PM   Group No. 17 (DCI): Argument presented.
 04:07 PM   Court: Pre-admitted excluding DX 488 and DX 489.
 04:07 PM   Argument presented re: DX 488 and DX 489.
 04:09 PM   Court: Excluded DX 488 and DX 489.
 04:10 PM   Group No. 19: Argument presented.
 04:22 PM   Court: Excluded from pre-admission but may be used as demonstratives.
 04:23 PM   Group No. 20: Argument presented.
 04:29 PM   Court: Excluded from pre-admission but may be used as demonstratives.
 04:30 PM   Group No. 21: Court: Not preadmitted but Court will hold in reserve.
 04:32 PM   Group No. 22: Court: Subject to previous MIL ruling, not preadmitted but Court will
            hold in reserve.
 04:32 PM   Arguments concluded.


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   TIME                                          MINUTES
 04:33 PM   Discussion and instructions re: Defendants’ large demonstrative equipment to be used
            at trial.
 04:38 PM   Pretrial process concluded.
 04:42 PM   Court adjourned.




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